                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
vs.                                                §   NO: WA:14-CR-00108(1)-ADA
                                                   §
(1) JOHN SLATTERY                                  §


                  MEMORANDUM AND RECOMMENDATION

        Pursuant to the referral by the District Judge, the defendant, defendant's attorney and the
attorney for the government appeared before the undersigned Magistrate Judge on 07/07/2020
for the purpose of defendant's entry of a plea of guilty. At that time defendant entered a guilty
plea as stated on the record. The Magistrate Judge addressed the defendant personally in open
court and, after assuring that defendant was competent to proceed and had consented to pleading
guilty before a Magistrate Judge, admonished the defendant in accordance with Rule 11,
Fed.R.Crim.P., of the nature of the charge, the possible penalties, defendant's constitutional and
statutory rights, and the consequences of pleading guilty. Defendant acknowledged
understanding these admonishments. The undersigned also addressed defendant concerning the
voluntariness of the guilty plea. Finally, the undersigned assured the existence of a factual basis
for the guilty plea. Based upon the answers to the court's questions from defendant and from
counsel, the Magistrate Judge makes the following findings:

       1. the defendant is competent to stand trial;

       2. the defendant has consented to plead guilty before a Magistrate Judge;

       3. the defendant fully understands the nature of the charge and the penalties;

       4. the defendant understands defendant's constitutional and statutory rights and desires to
          waive them;

       5. the defendant's plea is freely, knowingly and voluntarily made;

       6. the defendant is satisfied with their attorney's representation and has no complaints
          regarding the attorney's representation of any type; and

       7. there is a factual basis for the plea.


                                    RECOMMENDATION
    It is, therefore, the recommendation of the Magistrate Judge that the guilty plea be
ACCEPTED and that a Judgment of guilt be entered against defendant.

                             Instructions for Service and
                           Notice of Right to Appeal/Object

        The United States District Clerk shall serve a copy of this Memorandum and
Recommendation on all parties either (1) electronic transmittal to all parties represented by an
attorney registered as a Filing User with the Clerk of Court pursuant to the Court's Procedural
Rules for Electronic Filing in Civil and Criminal Cases; or (2) by certified mail, return receipt
requested, to any party not represented by an attorney registered as a Filing User. Pursuant to
Title 28 U.S.C. Section 636 (b)(1) and Rule 59(b)(2), Fed.R.Crim.P., any party who desires to
object to this report must serve and file written objections to the Memorandum and
Recommendation within 14 days after being served with a copy unless this time period is
modified by the district court. A party filing objections must specifically identify those findings,
conclusions or recommendations. to which objections are being made and the basis for such
objections; the district court need not consider frivolous, conclusive or general objections. Such
party shall file the objections with the clerk of court, and serve the objections on all other
parties and the Magistrate Judge. A party's failure to file written objections to the proposed
findings, conclusions and recommendations contained in this report shall bar the party from a de
novo determination by the district court. See Thomas v. Arn, 474 U.S. 140, 150, 106 S.Ct. 466,
472, 88 L.Ed.2d 435 (1985). Additionally, any failure to file written objections to the proposed
findings, conclusions and recommendation contained in this Memorandum and Recommendation
within 14 days after being served with a copy shall bar the aggrieved party, except upon grounds
of plain error, from attacking on appeal the unobjected-to proposed factual findings and legal
conclusions accepted by the district court. Douglass v. United Services Automobile
Association, 79 F.3d 1415, 1428-29 (5th Cir. 1996).

       SIGNED this 7th day of July, 2020.




                                                    ______________________________
                                                    JEFFREY C. MANSKE
                                                    UNITED STATES MAGISTRATE JUDGE
